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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION



                                        )
                                        (
CHARMANE SMITH,                         (
                                        )
                                        )
                                        (
            Plaintiff,                  (
                                        )
                                        )
                                        (
vs.                                     (
                                        )        No. 06-2484-Ma/V
                                        )
                                        (
UNITED STATES OF AMERICA,               (
                                        )
et al.                                  (
                                        )
                                        )
                                        (
            Defendants.                 (
                                        )
                                        )
                                        (



           ORDER GRANTING LEAVE TO PROCEED IN FORMA PAUPERIS
                           ORDER OF DISMISSAL
          ORDER DENYING MOTION FOR INJUNCTION AND PROHIBITION
            ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
                                   AND
                     NOTICE OF APPELLATE FILING FEE



            On July 24, 2006, Plaintiff Charmane Smith filed a pro se

complaint   that    purports   to   invoke   this      Court’s   subject-matter

jurisdiction pursuant to, inter alia, 28 U.S.C. § 1331, along with a

motion seeking leave to proceed in forma pauperis. The motion for

leave to proceed in forma pauperis is GRANTED. The Clerk shall record

the   defendants    as   the   United   States    of    America;   the    Federal

Communications Commission (“FCC”); Jefferey [sic] A. Zucker; Robert

C. Wright; Marc J. Saperstein; the National Broadcasting Company

(“NBC”); NBC Universal, Inc. (“Universal”);1 Jeffrey R. Immelt; Lloyd




      1
            Defendants Zucker, Wright, and Saperstein are apparently employed by
NBC and/or Universal.
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G. Trotter; the General Electric Company (“GE”);2 L. Lowry Mays; Mark

P. Mays; Randall T. Mays; Clear Channel Communications, Inc.;3 Carolyn

Gilbert; Robin Maddy; Critical Mass Media, Inc. (“Critical Mass”);4

Stuart O. Olds; Robert Damon; Katz Media Group, Inc. (“Katz”);5 Kraig

Kitchin;     Daniel       M.   Yukelson;          Premiere    Radio     Networks,          Inc.

(“Premiere”);6 Nina Tassler; George Schweitzer; CBS;7 Anne M. Sweeney;

Jeffrey     Bader;    John     Rouse;      ABC,    Inc.   (“ABC”);8     Ed       Wilson;      Del

Mayberry; and Fox Broadcasting Company (“Fox”).9

             In her complaint, Plaintiff alleges that “[t]he U.S. Media

Industry has broadcasted obscene, profane, indecent, and slanderous

comments to appeal to and promote prurient interests, and to provoke

resentment, mistrust, jealousy, harassment, and persecution against”

her. Compl., ¶ 2; see also id. at 3 (“The Defendants conspired to

injure, oppress, threaten, and intimidate me by spreading vicious,

defamatory rumors through television and covert radio broadcasts and

through celebrities who had the potential to influence the public.”).



        2
             Defendants Immelt and Trotter are alleged to be employees of GE.
        3
            L. Lowry Mays, Mark P. Mays, and Randall T. Mays are alleged to be
employees of Clear Channel. This judge is not related to any of these parties.
        4
             Defendants Gilbert and Maddy are alleged to be employees of Critical
Mass.
        5
             Defendants Olds and Damon are alleged to be employees of Katz.
        6
             Defendants    Kitchin   and    Yukelson   are   alleged   to   be    employees    of
Premiere.
        7
             Defendants Tassler and Schweitzer are alleged to be employees of CBS.
        8
             Defendants Sweeney, Bader, and Rouse are alleged to be employees of
ABC.
        9
             Defendants Wilson and Mayberry are alleged to be employees of Fox.

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The complaint contains no details about the allegedly obscene or

defamatory statements, making it impossible for the Court to identify

them or to connect any statement with any defendant. Plaintiff

alleges that Defendants’ actions have taken place “for at least 25

years.” Id., ¶ 4. The complaint also alleges as follows:

     6.    Defendants have committed Libel Per Se against me by
           promoting a hoax in the form of a series of false
           accusations, ideas, and phrases that caused me
           physical,    emotional,    personal,    educational,
           professional, and financial harm. Defendants induced
           public acceptance of and participation in harmful
           rumor-milling, harassment, and persecution.

     7.    Defendants have illegally invaded and exploited my
           privacy, in violation of the privacy guarantee of the
           4th Amendment of the U.S. Constitution. Defendants
           have committed unreasonable invasion of my home,
           violated my right to privacy, violated my right of
           publicity, have illegally publicized my private
           information and facts, and have publicized information
           that has placed me in a false light (defamed my
           character); the invasion of my privacy is not
           warranted by and does not serve any legitimate
           interest that benefits society. The invasion and
           exploitation of my privacy has been detrimental to
           myself, my family, and society as a whole.

Id., ¶¶ 6-7. The United States and the FCC are sued because they

failed to prevent the media defendants from publishing allegedly

obscene   and   defamatory   information   about   Plaintiff.       Id.,   ¶   1.

Plaintiff seeks two trillion dollars ($2,000,000,000,000) in damages.

           Along with her complaint, Plaintiff has submitted a “Motion

for Injunction and Prohibition Under Rule 65 Fed.R.Civ.Pro.” (Docket

Entry (“D.E.”) 3) seeking mandatory injunctive relief directing the

United States and the FCC to force

     all U.S. Television, Radio, and any other Broadcasters to
     COMPLETELY STOP All Airing, Filming, Recording, and
     Broadcasting of me, Plaintiff CHARMANE SMITH, in any way,

                                     3
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     manner, form, likeness, perspective, or medium and to
     COMPLETELY STOP any mention, uttering, alluding, or comment
     against, directed at, or about me by any person or
     celebrity during any television or radio broadcast or other
     form of publication.

D.E. 3 at 1. In support of her motion, Plaintiff asserts as follows:

     1.   The Defendants are guilty of unreasonable intrusion
          into my life and home previously without my knowledge,
          without my consent, and have done so in excess of 25
          years. The Defendants are alleged to have induced
          public acceptance of this crime by fabricating excuses
          that appeared to justify their illegal invasion and
          exploitation of my person; consequently creating a
          hoax that has caused me lifelong hardship, suffering,
          and loss.

     2.   . . . It is alleged that the Defendant Broadcasters
          have made at least 1 trillion dollars by exploiting me
          but did not have the decency to pay me royalties or
          compensation, much less to offer it; in violation of
          Amendment 13 of the U.S. Constitution prohibiting
          slavery or involuntary servitude.

     . . . .

     4.   The Defendants have led the public into Mass
          Delusional Disorder; an environment and mentality that
          is morbidly jealous, narcissistic, delusional,
          erratic, and psychotic in nature. Many in the public
          have personality flaws and disorders that are self
          destructive, amoral, dangerous, disgusting, and
          socially reprehensible, incorporating Ego Defense
          Mechanisms in sick and inappropriate ways, such as:

          Denial (arguing against an anxiety provoking stimuli
          by stating it doesn’t exist)—People deny that they
          harbor jealous feelings against or over me. People
          deceive others into believing that I am a liar and
          have made it seem that I deserve to be hated,
          harassed, and rejected for accusing women of being
          jealous. . . . Many women are jealous of me and I
          would be vulnerable, naive to the point of stupidity,
          or delusional not to see and believe that they are
          jealous.

          Displacement   (taking out impulses on a less
          threatening target)—Women take out jealous anger on me
          instead of men who disappoint them by failing to give


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           them the attention or affection they desire or feel
           entitled to. . . .

           Projection (placing unacceptable impulses in yourself
           onto someone else)—People label me as a fake in
           disregard of the fact that they have been deceitful
           and manipulative in spiteful, deranged, and pitiful
           effort to ruin my reputation, romantic relationships,
           and happiness. Also, women label me as a whore despite
           the fact that they are guilty of shamelessly
           conspiring to compete against me for attention, men,
           and a ‘rumored’ fiancé . . . .

           Rationalization (supplying a logical or rational
           reason as opposed to the real reason)—People justify
           their jealous hate towards me and hide their own
           insecurities by speciously claiming that they do not
           see why any man would be attracted to me . . . .
           Denying the existence of my attractiveness is also a
           manipulation tactic meant to influence others to blind
           themselves to and refuse to acknowledge my attractive
           qualities.

           Women blame me and my reputation as a nymphomaniac for
           causing them to fail to get the attention, affection,
           or devotion of men they desire to be with in order to
           avoid feelings of being outdone . . . . Women accuse
           me of suffering from Multiple Personality Disorder and
           of faking nymphomania as an excuse to hate and do harm
           to me . . . and to provoke hate against me . . . .
           Accusations of mental illness and fake nymphomania is
           also being used by devious, underhanded people as an
           excuse to get away with lashing out in vicious spite
           against me without being shamed or punished for their
           jealous, self-serving, and unjustified evil intentions
           against me.

Id. at 1-2, 3-5 (emphasis in original).

           The   Court   is   required   to   screen   in   forma   pauperis

complaints and to dismiss any complaint, or any portion thereof, if

the action—

     (i)         is frivolous or malicious;

     (ii)      fails to state a claim on which relief may be
     granted; or



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      (iii)     seeks monetary relief against a defendant who is
      immune from such relief.

28 U.S.C. § 1915(e)(2). Plaintiff’s complaint is subject to dismissal

in its entirety.

            As a preliminary matter, each and every one of Plaintiff’s

claims     is     “clearly     baseless,”       “fanciful,”     “fantastic,”     or

“delusional.” Denton v. Hernandez, 504 U.S. 25, 32-33 (1992). A

complaint that does not contain any substantial claim does not confer

federal subject matter jurisdiction. Hagans v. Levine, 415 U.S. 528,

536- 37 (1974). There is no reason to believe that Plaintiff was ever

the   subject     of    attention   in    the   broadcast     media,   locally   or

nationally, much less the sustained, twenty-five (25) year media

frenzy described in the complaint and motion.10

            The        Court   lacks     subject-matter       jurisdiction     over

Plaintiff’s claim against the United States and the FCC. Although the

complaint cites the federal diversity jurisdiction statute, 28 U.S.C.

§ 1332, neither the United States nor the FCC is a citizen of a state

for diversity purposes. General Ry. Signal Co. v. Corcoran, 921 F.2d

700, 703 (7th Cir. 1991); Weeks Constr., Inc. v. Oglala Sioux Housing


      10
            The Court notes that, on October 2, 1998, Plaintiff was found
incompetent to stand trial in United States v. Smith, No. 96-20093-B(Tu) (W.D.
Tenn.), and United States v. Smith, No. 96-20129-B(Tu) (W.D. Tenn.). Smith was
committed to the custody of the Attorney General pursuant to 18 U.S.C. § 4246.
Judgment was entered on October 13, 1998. The United States Court of Appeals for
the Sixth Circuit, in an unpublished opinion, affirmed Smith’s commitment to the
Attorney General. United States v. Smith, No. 98-6454 (6th Cir. Mar. 9, 2000).
Pursuant to an order dated July 1, 2003, Plaintiff was conditionally released from
the Federal Medical Center on July 2, 2003. She was arrested on January 1, 2004 for
violation of the terms of her conditional release, which included refusals to take
her medication and various threats. After a hearing on May 11, 2004, an order was
issued retaining jurisdiction over Plaintiff for one year and requiring her to
report periodically to the United States Probation Office and to refrain from
filing any new lawsuits. The period of supervision has expired and, in 2006,
Plaintiff filed 12 new lawsuits, most of which have been summarily dismissed.

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Auth., 797 F.2d 668, 676 n.10 (8th Cir. 1986); cf. Moore v. County of

Alameda, 411 U.S. 693, 717 (1973) (a State cannot be a citizen of

itself for purposes of diversity jurisdiction); Postal Telegraph

Cable Co. v. Alabama, 155 U.S. 482 (1894) (same).

            Plaintiff also relies on 28 U.S.C. § 1331, concerning

federal-question jurisdiction; 28 U.S.C. § 1343(a), a civil rights

statute; and 28 U.S.C. § 1346(b)(1), concerning tort claims against

the United States. However, the complaint does not allege that the

United States or the FCC violated any federal statute that provides

a private right of action. Even if the complaint could be construed

broadly to allege violation of Plaintiff’s constitutional rights, the

United States and the FCC are immune from suit in a Bivens action.

Franklin v. Henderson, No. 00-4611, 2000 WL 861697, at *1 (6th Cir.

June 20, 2001); Fagan v. Luttrell, No. 97-6333, 2000 WL 876775, at *3

(6th Cir. June 22, 2000) (“Bivens claims against the United States

are barred by sovereign immunity. . . . The United States has not

waived its immunity to suit in a Bivens action.”); Miller v. Federal

Bureau of Investigation, No. 96-6580, 1998 WL 385895, at *1 (6th Cir.

July 1, 1998) (“the doctrine of sovereign immunity precludes a Bivens

action    against     a   federal    agency     for    damages”);     see    also

Ecclesiastical Order of the Ism of Am, Inc. v. Chasin, 845 F.2d 113,

115-16 (6th Cir. 1988) (per curiam) (barring claim against federal

employee in his official capacity).11


      11
            Sovereign immunity also bars Bivens actions against the United States
or its agencies for declaratory and injunctive relief. Wolverton v. United States,
No. 96-5224, 1997 WL 85153, at *4 (6th Cir. Feb. 26, 1997) (per curiam); United
States v. Rural Elec. Convenience Coop. Co., 922 F.2d 429, 434 (7th Cir. 1991).

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            The complaint fails to state a claim under the Federal Tort

Claims Act (“FTCA”), 28 U.S.C. § 2671 et seq., because it does not

appear that Plaintiff has properly exhausted her claims as required

by 28 U.S.C. § 2675.12 Accordingly, the Court DISMISSES the complaint

as to the United States and the FCC pursuant to 28 U.S.C. §

1915(e)(2)(B)(i), (ii), and (iii).

            As to the claims against the remaining defendants, the

complaint does not allege a viable claim under any civil rights

statute. Although the complaint alleges that the media defendants

violated    Plaintiff’s     rights    under    the   Fourth    Amendment,     that

provision, on its face, applies only to governmental action. A

plaintiff seeking redress for a violation of her constitutional

rights may sue state officials under 42 U.S.C. § 1983 and federal

officials under Bivens. “A § 1983 plaintiff may not sue purely

private parties.” Brotherton v. Cleveland, 173 F.3d 552, 567 (6th

Cir. 1999); see also Correctional Servs. Corp. v. Malesko, 534 U.S.

61 (2001) (private corporation that operates prison under color of

federal law cannot be sued under Bivens).




      12
            Although the complaint also alleges that the United States and the FCC
violated 18 U.S.C. § 1464, a federal criminal statute prohibiting the broadcasting
of obscene language, the complaint makes clear that these parties did not
personally broadcast anything; instead, they are accused of failing to prevent
broadcasts by the media defendants. A federal criminal statute provides no basis
for subject-matter jurisdiction over a civil complaint.

            Finally, 18 U.S.C. § 1393(a), concerning restitution in criminal cases,
is not relevant here. Similarly, 18 U.S.C. § 2255(a), which provides a civil remedy
for minors who are victims of sexual abuse or sexual exploitation, is also
inapplicable for numerous reasons. The complaint does not allege that the United
States or the FCC violated any federal criminal statute that would give rise to a
private right of action; any claim against the United States or the FTCA must be
brought under the FTCA; and Plaintiff is not a minor.

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             Although the citation of 28 U.S.C. § 1343(a) suggests that

Plaintiff is attempting to state a claim under 42 U.S.C. § 1985, any

such claim is subject to dismissal. Although the complaint does not

identify which provision of § 1985 Plaintiff purports to invoke, the

only applicable provision would be § 1985(3), which prohibits a

conspiracy    “for   the    purpose   of       depriving,   either    directly   or

indirectly, any person or class of persons of the equal protection of

the laws or of equal privileges and immunities under the laws.”

       [I]n order to state a cause of action under § 1985, the
       plaintiff must allege that the defendants (1) conspired
       together, (2) for the purpose of depriving, directly or
       indirectly, a person or class of persons of the equal
       protection of the laws, (3) and committed an act in
       furtherance of the conspiracy, (4) which caused injury to
       person or property, or a deprivation of any right or
       privilege of a citizen of the United States, and (5) and
       that the conspiracy was motivated by racial, or other
       class-based, invidiously discriminatory animus.

Bass v. Robinson,     167 F.3d 1041, 1050 (6th Cir. 1999).

             The complaint, even construed liberally, Haines v. Kerner,

404 U.S. 519 (1972), does not allege that Defendants sought to

deprive Plaintiff of the equal protection of the laws or that they

were    motivated    by    racial,    or       other   class-based,   invidiously

discriminatory animus.

             “[T]o demonstrate the necessary conspiracy, a plaintiff

must allege specific acts or means by which the defendants were

alleged to have conspired.” Bryant-Bruce v. Vanderbilt Univ., Inc.,

974 F. Supp. 1127 (M.D. Tenn. 1997); see also Brooks v. American

Broadcasting Cos., 932 F.2d 495 (6th Cir. 1991) (affirming denial of

motion to amend to add § 1985 claim because “the allegations are too


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vague and conclusory to withstand a motion to dismiss”); Jaco v.

Bloechle, 739 F.2d 239, 245 (6th Cir. 1984); Lindsey v. Allstate Ins.

Co., 34 F. Supp.2d 636, 645 (W.D. Tenn. 1999); cf. Gutierrez v.

Lynch, 826 F.2d 1524, 1538 (6th Cir. 1987) (“It is well-settled that

conspiracy claims must be pled with some degree of specificity and

that vague and conclusory allegations unsupported by material facts

will not be sufficient to state . . . a claim.”; dismissing § 1983

conspiracy claim). The complaint contains no allegations that any

individual or corporate defendant committed any particular overt act

that libeled Plaintiff or invaded her privacy. Apart from the bare

assertion    that   “[t]e   Defendants      conspired,”   Compl.,    ¶    3,   the

complaint does not allege any specific act or means used by any

participant in the alleged conspiracy.

            Accordingly, to the extent the complaint purports to assert

a claim against the corporate and individual defendants under Bivens,

42 U.S.C. § 1983, or 42 U.S.C. § 1985, it is DISMISSED, pursuant to

28 U.S.C. § 1915(e)(2)(B)(ii), for failure to state a claim on which

relief may be granted.

            Plaintiff also relies on 18 U.S.C. § 241, a federal

criminal statute. There is no private right of action under this

statute. United States v. Oguaju, 76 F. App’x 579, 581 (6th Cir.

2003); Moore v. Potter, 47 F. App’x 318, 320 (6th Cir. 2002); Duncan

v. Cone, No. 00-5705, 2000 WL 1828089, at *1 (6th Cir. Dec. 7,

2000).13

      13
            Plaintiff also cites 18 U.S.C. § 1584, a federal criminal statute
prohibiting the sale of persons into involuntary servitude; and 18 U.S.C. §§ 1464
                                                                   (continued...)

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            To the extent the complaint can be construed as asserting

a claim under Tennessee law for defamation, over which the Court

might have subject-matter jurisdiction under 28 U.S.C. § 1332(a), the

complaint in this action fails to comply with the Federal Rules of

Civil Procedure. In particular, Fed. R. Civ. P. 8(a)(2) provides, in

relevant part, that “[a] pleading which sets forth a claim for relief

. . . shall contain . . . (2) a short and plain statement of the

claim showing that the pleader is entitled to relief.” That statement

must give the defendant “fair notice of what the plaintiff’s claim is

and the grounds upon which it rests.” Conley v. Gibson, 355 U.S. 41,

47 (1957). The Sixth Circuit has emphasized that “[a] complaint . .

. must contain either direct or inferential allegations respecting

all the material elements to sustain a recovery under some viable

legal theory. Lewis v. ACB Bus. Servs., Inc., 135 F.3d 389, 406 (6th

Cir. 1998) (citation omitted); see also Minadeo v. ICI Paints, 398

F.3d 741, 762-63 (6th Cir. 2005) (complaint insufficient to give

notice of statutory claim); Savage v. Hatcher, 109 F. App’x 759, 761

(6th Cir. 2004); Coker v. Summit County Sheriff’s Dep’t, 90 F. App’x

782, 787 (6th Cir. 2003) (affirming dismissal of pro se complaint

where plaintiff “made ‘bare bones,’ conclusory assertions that do not

suffice to state a cognizable constitutional claim”); Payne v.

      13
            (...continued)
and 1466, federal criminal statutes prohibiting the broadcast of obscene language
and material. These statutes are factually inapplicable here and do not authorize
private suits for damages. The complaint does not allege any facts that would
suggest that any defendant violated 18 U.S.C. § 1591(a), which prohibits sex
trafficking of children or trafficking of persons forced to engage in commercial
sex acts. Another provision cited by Plaintiff, 18 U.S.C. § 1458, does not exist.
Finally, although violations of 18 U.S.C. § 2252(a)(1) may give rise to a private
cause of action under 18 U.S.C. § 2255(a), the complaint does not allege any facts
that suggest any defendant violated that statute and Plaintiff is not a minor.

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Secretary of Treas., 73 F. App’x 836, 837 (6th Cir. 2003) (affirming

sua sponte dismissal of complaint pursuant to Fed. R. Civ. P.

8(a)(2); “Neither this court nor the district court is required to

create Payne’s claim for her.”); Foundation for Interior Design Educ.

Research v. Savannah Coll. of Art & Design, 244 F.3d 521, 530 (6th

Cir. 2001) (the complaint must “‘allege a factual predicate concrete

enough to warrant further proceedings’”) (citation omitted); Mitchell

v. Community Care Fellowship, 8 F. App’x 512, 513 (6th Cir. 2001);

Hancock v. U.S. Dep’t of Educ., No.04-2256-Ml/V, 2005 WL 3071881, at

*3 (W.D. Tenn. Nov. 14, 2005). The complaint in this case is

insufficient to give notice of the nature of Plaintiff’s claims

against Defendants.

             Under Tennessee law, the elements of a defamation claim are

as follows:

        1) a party published a statement; 2) with knowledge that
        the statement is false and defaming to the other; or 3)
        with reckless disregard for the truth of the statement or
        with negligence in failing to ascertain the truth of the
        statement.

Sullivan v. Baptist Mem. Hosp., 995 S.W.2d 569, 571 (Tenn. 1999). “A

libel    action   involves    written   defamation    and   a   slander   action

involves spoken defamation. The basis for an action for defamation,

whether it be slander or libel, is that the defamation has resulted

in an injury to the person’s character and reputation.” Quality Auto

Parts, Inc. v. Bluff City Buick Co., 876 S.W. 2d 818, 820 (Tenn.

1994); see also Davis v. The Tennesseean, 83 S.W.3d 125, 130 (Tenn.

Ct.   App.   2001)   (“[I]t   is   injury    to   one’s   reputation   for   good

character with the public which is necessary for an actionable claim

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of defamation. . . . To suffer injury to one’s standing in the

community, or damage to one’s public opinion, one must prove good

standing and reputation for good character to begin with.”). A

complaint must allege all the elements of a defamation claim,

although one unpublished decision in the Sixth Circuit has held that

the substance of the defamatory communication need not be alleged.

Wright v. Sodexho Marriott Servs., 30 F. App’x 566, 567 (6th Cir.

2002).14 In this case, the complaint does not allege any false

statement published by any Defendant concerning Plaintiff that was

made with knowledge of its falsity, with reckless disregard for the

truth of the statement, or with negligence in failing to ascertain

the truth of the statement.15

            For all of the foregoing reasons, the Court DISMISSES the

complaint as to the corporate and individual defendants pursuant to

28 U.S.C. §§ 1915(e)(2)(B)(i) & (2).

            In light of the dismissal of the complaint, the motion for

injunctive relief is DENIED as moot.

            The Court must also consider whether Plaintiff should be

allowed to appeal this decision in forma pauperis, should she seek to

do so. Pursuant to the Federal Rules of Appellate Procedure, a non-

prisoner desiring to proceed on appeal in forma pauperis must obtain

pauper status under Fed. R. App. P. 24(a). See Callihan v. Schneider,


      14
             Wright is distinguishable from this case, which involves the review of
an in forma pauperis action pursuant to 28 U.S.C. § 1915(e)(2). See Baxter v. Rose,
305 F.3d 486, 489-90 (6th Cir. 2002).
      15
            For the reasons previously stated, see supra p. 6 & n.10, there is
substantial reason to doubt that any Defendant made any statement whatsoever about
Plaintiff, let alone a defamatory statement.

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178 F.3d 800, 803-04 (6th Cir. 1999). Rule 24(a)(3) provides that, if

a party has been permitted to proceed in forma pauperis in the

district court, she may also proceed on appeal in forma pauperis

without further authorization unless the district court “certifies

that the appeal is not taken in good faith or finds that the party is

not otherwise entitled to proceed in forma pauperis.” If the district

court denies pauper status, the party may file a motion to proceed in

forma pauperis in the Court of Appeals. Fed. R. App. P. 24(a)(4)-(5).

           The good faith standard is an objective one. Coppedge v.

United States, 369 U.S. 438, 445 (1962). An appeal is not taken in

good faith if the issue presented is frivolous. Id. It would be

inconsistent for a district court to determine that a complaint does

not warrant service on the defendants, yet has sufficient merit to

support an appeal in forma pauperis. See Williams v. Kullman, 722

F.2d 1048, 1050 n.1 (2d Cir. 1983). The same considerations that lead

the Court to dismiss the complaint for failure to state a claim also

compel the conclusion that an appeal would not be taken in good

faith.

           It is therefore CERTIFIED, pursuant to Fed. R. App. P.

24(a), that any appeal in this matter by the plaintiff is not taken

in good faith. Leave to proceed on appeal in forma pauperis is,

therefore, DENIED. Accordingly, if plaintiff files a notice of

appeal, she must pay the $455 appellate filing fee in full or file a




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motion to proceed in forma pauperis in the United States Court of

Appeals for the Sixth Circuit within thirty (30) days.

           IT IS SO ORDERED this 8th day of January, 2007.




                                          S/ SAMUEL H. MAYS, JR.
                                             UNITED STATES DISTRICT JUDGE




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